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                                                                 FILED: December 10, 2024

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                               No. 24-2214
                                          (1:23-cv-02699-RDB)
                                         ___________________

        STUDENTS FOR FAIR ADMISSIONS

                     Plaintiff - Appellant

        v.

        THE UNITED STATES NAVAL ACADEMY; THE UNITED STATES
        DEPARTMENT OF DEFENSE; LLOYD AUSTIN, in his official capacity as
        Secretary of Defense; CARLOS DEL TORO, in his official capacity as Secretary
        of the Navy; BRUCE LATTA, in his official capacity as Dean of Admissions for
        the United States Naval Academy; REAR ADMIRAL FRED KACHER, in his
        official capacity as Acting Superintendent of the United States Naval Academy

                     Defendants - Appellees


        This case has been opened on appeal.

        Originating Court                          United States District Court for the
                                                   District of Maryland at Baltimore
        Originating Case Number                    1:23-cv-02699-RDB
        Date notice of appeal filed in             12/06/2024
        originating court:
        Appellant(s)                               Students for Fair Admissions
        Appellate Case Number                      24-2214
        Case Manager                               Rachel Phillips
                                                   804-916-2702
